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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

   UNITED STATES OF AMERICA                         §
                                                    §
   v.                                               §   CRIMINAL ACTION NO. 4:12-CR-181-
                                                    §             ALM-CAN
   JASON TYLER ELLIS (23)                           §

                             REPORT AND RECOMMENDATION
                          OF UNITED STATES MAGISTRATE JUDGE

          Now before the Court is the request for revocation of Defendant Jason Tyler Ellis’s

   (“Defendant”) supervised release. After the District Judge referred the matter to this Court for a

   report and recommendation, the Court conducted a hearing on September 16, 2021, to determine

   whether Defendant violated his supervised release. Defendant was represented by Brian O’Shea

   of the Federal Public Defender’s Office. The Government was represented by Sean Taylor.

          Defendant was sentenced on August 26, 2014, before The Honorable Richard A. Schell of

   the Eastern District of Texas after pleading guilty to the offense of Conspiracy to Distribute and

   Possess with Intent to Distribute 50 Grams or More of Methamphetamine and 5 Grams or More

   of Methamphetamine (Actual), a Class B felony. This offense carried a statutory maximum

   imprisonment term of 40 years. The guideline imprisonment range, based on a total offense level

   of 29 and a criminal history category of IV, was 121 to 151 months. Defendant was subsequently

   sentenced to 55 months imprisonment followed by a 4-year term of supervised release subject to

   the standard conditions of release, plus special conditions to include financial disclosure, drug

   testing and treatment, mental health treatment, $100 special assessment, and a 5-year period of

   federal benefits ineligibility. On March 9, 2018, Defendant completed his period of imprisonment

   and began service of the supervision term. On August 12, 2016, this case was reassigned to The

   Honorable Amos L. Mazzant, III.


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          On October 23, 2020, the United States Probation Officer executed a Petition for Warrant

   or Summons for Offender Under Supervision [Dkt. 1418, Sealed]. The Petition asserts that

   Defendant violated five (5) conditions of supervision, as follows: (1) The defendant shall not

   unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of

   a controlled substance; (2) The defendant shall refrain from excessive use of alcohol and shall not

   purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia

   related to any controlled substances, except as prescribed by a physician; (3) The defendant shall

   not associate with any persons engaged in criminal activity and shall not associate with any person

   convicted of a felony, unless granted permission to do so by the probation officer; (4) The

   defendant shall participate in a program of testing and treatment for drug abuse, under the guidance

   and direction of the United States Probation Office, until such time as the defendant is released

   from the program by the probation officer. The defendant shall pay any cost associated with

   treatment and testing; and (5) Under the guidance and direction of the United States Probation

   Office, the defendant shall participate in any combination of psychiatric, psychological, or mental

   health treatment as deemed appropriate by the treatment provider. The defendant shall pay any

   cost associated with treatment and testing [Dkt. 1418 at 1-2, Sealed].

          The Petition alleges that Defendant committed the following acts: (1) (2) On January 8 and

   January 10, 2019, Defendant submitted urine specimens which tested positive for amphetamine.

   Defendant admitted both verbally and in writing to using methamphetamine.              On June 28,

   August 19, and September 30, 2020, Defendant submitted urine specimens which tested positive

   for amphetamine. On June 28, 2020, Defendant admitted both verbally and in writing to using

   methamphetamine. On August 19, 2020, he verbally admitted to using methamphetamine; (3) In

   May 2020, Defendant began residing at 13595 Northeast First Street, Silver Springs, Florida.



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   Defendant verbally admitted that both he and the homeowner, Michael Klopp, actively used

   methamphetamine throughout the duration of Defendant’s residential occupancy, extending to

   October 2020; (4) Defendant was instructed to attend weekly outpatient substance abuse group

   counseling at Conroys Choices, Ocala, Florida. Defendant has not attended treatment as instructed

   since August 8, 2020; and (5) Defendant was instructed to attend biweekly individual counseling

   sessions at Options of Marion County, Ocala, Florida, where he received mental health treatment

   for co-occurring disorders. Defendant has not attended treatment as instructed since August 18,

   2020 [Dkt. 1418 at 1-2, Sealed].

          Prior to the Government putting on its case, Defendant entered a plea of true to

   allegations 1 and 2 of the Petition. The Government dismissed allegations 3, 4, and 5. Having

   considered the Petition and the plea of true to allegations 1 and 2, the Court finds that Defendant

   did violate his conditions of supervised release.

          Defendant waived his right to allocute before the District Judge and his right to object to

   the report and recommendation of this Court [Dkt. 1446].

                                            RECOMMENDATION

          Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant’s

   supervised release be revoked and that he be committed to the custody of the Bureau of Prisons to

   be imprisoned for an additional term of imprisonment of fifteen (15) months, with no term of

   supervised release to follow.

          The Court also recommends that Defendant be housed in a Bureau of Prisons facility in

   Central Florida, if appropriate.   SIGNED this 1st day of October, 2021.




                                                                 ___________________________________
   REPORT AND RECOMMENDATION – Page 3                            Christine A. Nowak
                                                                 UNITED STATES MAGISTRATE JUDGE
